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                         IN THE U.S. DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OHIO,
                             EASTERN DIVISION
                                      )
UNITED STATES OF AMERICA,             ) CASE NO.: 1:15cr0038
                                      )
        vs.                           ) JUDGE CHRISTOPHER A. BOYKO
                                      )
DAVID WAYNE VICKERS,                  ) Position With Respect to Sentencing Factors
         Defendant.                   )
                                      )

  DEFENDANT DAVID VICKER’S POSITION WITH RESPECT TO SENTENCING
                                            FACTORS


        COMES NOW the defendant, David Wayne Vickers, by undersigned counsel, Greg D.
McCormack and Jarrett L. McCormack and in accordance with § 6A1.2 of the Sentencing
Guidelines and Policy Statements and this Court’s policy regarding guidelines sentencing,
respectfully states the following:




    APPLICATION OF THE 18 U.S.C. §3553 SENTENCING FACTORS SUPPORT A
                                     VARIANT SENTENCE


        Pursuant to the provisions of §5K2.0(b) of the Federal Sentencing Guidelines Manual, and
the factors to be considered in imposing a sentence as set forth in 18 U.S.C. §3553 (b) (2) (A)(ii),
the defendant, David Wayne Vickers, by counsel, respectfully submits his request that the
Honorable Court grant a significant variance from the applicable sentencing guidelines to impose a
sentence which is "sufficient, but not greater than necessary" to serve the purposes of sentencing
set forth at 18 U.S.C. §3553(a)(l ) and (2). For the reasons stated below, counsel for David Wayne
Vickers submits that the appropriate sentence in this matter is within a range of 262 to 327 months
of confinement and supervised release for life.
        While the Court must consider the Guidelines calculation as part of the sentencing process,
the Guidelines merely "serve as one factor among several courts must consider in determining an
appropriate sentence." Kimbrough v. United States, 552 U S. 85, 90 (2007). Rather than simply


                                                                   McCormack & McCormack
                                              -1-                       Attorneys at Law
                                                                611 Lynnhaven Parkway, Suite 100
                                                                    Virginia Beach, VA 23452
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impose a sentence within the Guidelines range, the Court must consider the whole range of factors
listed in 18 U.S.C. §3553 and determine the sentence that is "sufficient, but not greater than
necessary” to accomplish the goals of sentencing. Id. at 101 (quoting 18 U.S.C. §3553). Indeed, the
Court may not even "presume that the Guidelines range is reasonable, but must make an
individualized assessment based on the facts presented." Gall v. United States, 552 U.S. 38, 50
(2007). The sentencing court has wide latitude to impose a sentence below the Guidelines range,
"perhaps because (as the Guidelines themselves foresee) the case at hand falls outside the
'heartland' to which the Commission intends individual Guidelines to apply, perhaps because the
Guidelines sentence itself fails properly to reflect §3553(a) considerations, or perhaps because the
case warrants a different sentence regardless." Rita v. United States, 551 U.S. 338, 351 (2007).
Here, the 18 U.S.C. §3553(a) factors overwhelmingly support a sentence far below the suggested
Guidelines Range. A sentence of within a range of 262 to 327 months, with supervised release for
life, would be "sufficient, but not greater than necessary" to satisfy the statutory factors.


      DEFENDANT’S HISTORY AND CHARACTERISTICS: 18 U.S.C. § 3553 (a)(1)


        When considering David's history and characteristics, it is incumbent to begin with his
upbringing and family life. As referenced in the attached character letters from his family and close
friends, David was raised in a loving and close-knit home environment. David is one of two
children born to Edgar Wayne Vickers and Mary Vickers, whom passed away in 2013. David’s
father, Wayne Vickers, was employed for over 35 years with the United States government as a
cartographer in a manager capacity. His mother, Mary Vickers, was employed by the Central
Intelligence Agency (CIA), until David was born in 1973, at which time she transitioned to stay at
home to care for the children until her return to work for the CIA in 1985. David and his sister,
Kellee Vickers, were raised in an upper-middle income neighborhood in Herndon, VA, located in
Fairfax County. The close-knit familial environment was promoted both by his mother's staying
home with the children, as well as his father's working close-by the home which afforded him the
opportunities to be a full participant in school and home activities with both David and Kellee.
Kellee is 45 years old and lives in Sterling, Virginia with their father, where she is employed as a
dog groomer. David and Kellee have remained close throughout their lives.




                                                                     McCormack & McCormack
                                                -2-                       Attorneys at Law
                                                                  611 Lynnhaven Parkway, Suite 100
                                                                      Virginia Beach, VA 23452
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        As noted in Wayne Vickers’ letter, David’s life has been replete with obstacles which he
has worked hard to overcome. From the age of three, David has worked through a learning
disability, participating in special education classes from pre-school through college, which
ultimately led to him graduating high school and earning an Associate’s Degree, followed by a
Bachelor’s Degree from George Mason University. This inspiring work ethic led to his steady and
continuous employment – beginning with delivering newspapers at the age of eight and continuing
with his career in foodservice. David’s interest in the foodservice industry carried him through
more recent years, wherein he invested in several restaurant opportunities that unfortunately failed.
Additionally, for a period between 2008 and 2010, David was self-employed as a restaurant
consultant. As noted in the Pre-Sentence Report, while David’s employment the past fourteen
years has not been continuously with one employer or one position, he has steadfastly maintained
employment, providing for his family.
        David's obstacles as they relate to any learning disability or employment continuity and
success, however, sadly pale in comparison to the hard times that hit him in 2007 where it hurt the
worst -his family. In December 2007, David's mother Mary was diagnosed with early onset
Alzheimer's disease. Being as close to his mother as he was, the diagnosis took an extreme toll on
David, as it did on Kellee and Wayne Vickers. The disease ravaged Mary's mind, and within just a
few years of the diagnosis, she was spending her final two years in an assisted living home. David
was a faithful visitor, remaining by his mother's side until the very end, and would often bring his
daughter Lauren on visits and occasional his son Jake. At the end of Mary's life, David's wife
Dana would also come to visit Mary with David and the children. As is evident in the various
character letters, losing his mother and best friend took a terrible toll on David. After his mother's
passing in 2013, David's bond with his father and sister grew. Wayne Vickers has remained a
steady presence in his son's life, and David in Wayne's. It is important to note Wayne's continuous
presence in the courtroom, standing fast in support of his son through the toughest moments of
trial, and returning for sentencing. Wayne has also remained incredibly active and supportive
throughout counsels' representation of his son -ready to do as needed on the drop of a dime. The
impact that these events have had on Wayne are as readily apparent as they are tragic.
        David was married in 2001 to Dana Pyles, who is a director for an advertising firm. They
have two children together, Lauren and Jacob Vickers. David’s father notes in his character letter
how proud he was to see his son caring for his two children. The admiration went so far as causing


                                                                     McCormack & McCormack
                                               -3-                        Attorneys at Law
                                                                  611 Lynnhaven Parkway, Suite 100
                                                                      Virginia Beach, VA 23452
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Wayne to wishing that he had helped Mary more with David and Kellee when they were younger.
Outside of the childhood learning disability, David has not experienced any diagnoses of mental
health issues prior to his arrest in this matter. Since his incarceration, David has experienced
significant depression and anxiety and has been taking Zoloft as prescribed since March 2015
which has helped calm him. David has indicated that he is open-minded to participating in mental
health treatment while incarcerated. David has no history of illegal drug use or prescription drug
abuse. As noted in the Pre-Sentence Report, alcohol consumption has been a factor in David's life
since the age of 16, with a significant increase over the six months prior to his arrest without a
rational explanation.
        As is all too common in cases of this nature, David Vickers is himself a victim of child sex
abuse/molestation as referenced in the letter of his father. After David was arrested, counsel learned
that he had been molested when he was approximately age 10 by an adult male he met at a skate
board park over a period of approximately three years. David's father comments in his letter as to
how his failure to know this as his son was growing up could have possibly played a factor in David
being in the situation he is in today.
        Prior to the instant offenses, David has never had any criminal convictions, outside of
minor traffic infractions. In his 42 years, David has maintained a completely clear criminal history,
resulting in his criminal history category of I for sentencing guidelines computation purposes.
        It is well recognized in consideration of the sentencing factors under 18 U.S.C. §3553 that
family ties "are pertinent to crafting an appropriate sentence." United States v. Nellum, No. 2:04-
CR-30, 2005 BL 88941, at *4 (N.D. Ind. Feb. 3, 2005). As reflected in the attached character
letters, and noted above, David has an extremely close bond with his father and sister. In
determining the particular sentence to be imposed, 18 U.S.C. §3553 (a)(l) requires consideration of
the "history and characteristics of the defendant." See United States v. Myers, 353 F. Supp. 2d
1026, 1031 (S.D. Iowa 2005) (imposing non-Guidelines sentence where defendant had "been a
steadfast and guiding presence his family's life"). See, e.g., United States v. Schroeder, 536 F.3d
746 (7th Cir. 2008) (remanding for resentencing where the sentencing court did not address
defendant's claim of extraordinary family circumstances: "[w]hen a defendant presents an
argument for a lower sentence based on extraordinary family circumstances, the relevant inquiry is
the effect of the defendant’s absence on his family members”). See also Benkahla, 501 F. Supp.
2d. at 760 (awarding downward variance based on, among other things, defendant’s “strong,


                                                                    McCormack & McCormack
                                               -4-                       Attorneys at Law
                                                                 611 Lynnhaven Parkway, Suite 100
                                                                     Virginia Beach, VA 23452
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positive relationships with friends, family and the community.”); United States v. Harding, No. 05
CR 1285-02, 2006 WL 2850261, at *5 (S.D.N.Y. Sept. 28, 2006) (awarding a below Guidelines
sentencing taking “note of the significant network” ready to support the defendant.) As is
apparent from the letter David’s father, David’s absence from home has and will continue to have a
profound impact upon his health and wellbeing as he ages. David’s father is deeply entrenched in
the efforts to provide David support while he is incarcerated and that support will continue in full
force until he can come home to him. The steadfast and guiding presence of his family is a proper
consideration in imposing a below-Guideline sentence. See United States v. Myers, 353 F, Supp.
2d. 1026, 1031 (S.D. Iowa 2005).
        Counsel for the Defendant feels compelled to comment upon the history of this Defendant
as displayed in these court proceedings, in as much as counsel submits it should be given due
consideration in determination of an appropriate sentence in this case. It is clearly apparent that
Mr. Vickers has struggled extensively with his emotions and outside influence as reflected by his
withdrawal from a pretrial agreement on the date he was to enter his guilty pleas, against his
counsel’s advice, in the presence of his father. The loss of his wife and children has taken an
immense toll upon him, which from counsel’s observations has played a significant factor in Mr.
Vickers decisions he has made during the course of these proceedings.


           THE NEED FOR THE SENTENCE IMPOSED TO REFLECT THE
 SERIOUSNESS OF THE OFFENSE, TO PROMOTE RESPECT FOR THE LAW, AND
  TO PROVIDE JUST PUNISHMENT FOR THE OFFENSES: 18 U.S.C. §3553(a)(2)(A)

        Based upon the mitigating aspects of the defendant’s characteristics and history as
described above, the defendant respectfully submits that a sentence of confinement within a range
of 262 to 327 months, with supervised release for life is sufficient, but not greater than necessary,
to satisfy the factors in §3553 (a)(2)(A). The question becomes one of what amount of
imprisonment under the circumstances of this case, and those of the defendant, is necessary to
reflect the seriousness of the offense, to promote respect for the law, and to provide just
punishment.
        A sentence of confinement within a range of 262 to 327 months with supervised release for
life is not an insignificant period of time. The defendant’s father is 69 years of age, his sister is 45.
With the best of circumstances, Wayne Vickers hopes and prays to have the opportunity to spend


                                                                      McCormack & McCormack
                                                -5-                        Attorneys at Law
                                                                   611 Lynnhaven Parkway, Suite 100
                                                                       Virginia Beach, VA 23452
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some time with his son before he passes from this world. His sister, Kellee, likewise wants to be a
part of David’s life. His children, Lauren and Jake are at this point in a situation where their father
has been taken totally out of their lives, yet maybe someday, when they are adults, they will have
an interest in meeting their father and learning who he is. There is much more to this man than the
person who stands before this Honorable Court for sentencing. Regardless of the sentence
imposed, in addition to the actual imprisonment and passage of time, the defendant will continue to
serve a lifetime of punishment. This punishment comes in the form of being a convicted felon, a
registered sex offender, subjected to the intense supervision of federal probation, and as a
combined result, undoubtedly will be the subject of scorn of society.
        First, the defendant will be a convicted felon. Upon his potential release close to the usual
retirement age, the defendant’s job opportunities will be further hindered by his status as a
convicted felon. His opportunities for employment, purchasing or leasing a residence,
socialization, voting, and various other elements of daily life will be radically restricted in light of
his status as a convicted felon.
        Second, the defendant must register as a sex offender for the rest of his life. This, as is the
case with being a convicted felon, will follow him wherever he goes for the rest of his life. David
will never be able to escape the stigma that is attached to the registered sex offender status – the
modern-day equivalent to being branded with a scarlet letter. His name, home address,
employment, and any education he wishes to pursue will be open and available to all those who do
a simple online search.
        Third, the defendant's family and close support network is rapidly whittling down to
nothing. Having recently lost his mother, and losing his wife and children, the only immediate
family members David has to rely on for support are his father and sister. As noted above, Wayne
Vickers would be 84 years old upon David's release even if he were sentenced to the mandatory
minimum sentence that this Honorable Court can impose. Realistically, even under a mandatory
minimum sentence, upon his release David would likely only have his sister to return to. David's
is unlikely to see or hear from his children until, at the very least, they are no longer minors. The
defendant's opportunities to forge new relationships or friendships upon his release would be
limited, at best. He would feel, likely accurately, that every person in public would immediately
know of his felon and sex offender status and keep their distance.




                                                                      McCormack & McCormack
                                                -6-                        Attorneys at Law
                                                                   611 Lynnhaven Parkway, Suite 100
                                                                       Virginia Beach, VA 23452
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        The defendant, even as he sits in his jail cell awaiting sentencing, has already lost
everything. His career hopes, his natural family as well as his own wife and children, his
reputation, and his flawless criminal record have all been wiped away. The defendant submits that
the totalities of these punishments are enough to reflect the seriousness of the offense, to promote
respect for the law, and to provide just punishment.


         THE NEED FOR THE SENTENCE IMPOSED TO AFFORD ADEQUATE
          DETERRENCE TO CRIMINAL CONDUCT: 18 U.S.C. § 3553 (a)(2)(B)

        The defendant respectfully incorporates herein, by reference, his above argument pursuant
to 18 U.S.C. § 3553 (a)(2)(A). All of the aforementioned punishments inherent with these
convictions alone, along with confinement in a range of 262 to 327 months, with supervised
release for life, similarly applies to the general deterrence factor in 18 U.S.C. § 3553 (a)(2)(B).
Other potential offenders would be adequately deterred seeing the defendant’s liberty being
restricted for such a period of years, the loss of his family, and the lifelong penalties associated
with being a convicted felon and registered sex offender, as well as being ostracized from society.


  THE NEED FOR THE SENTENCE IMPOSED TO PROTECT THE FUTURE FROM
       FURTHER CRIMES OF THE DEFENDANT: 18 U.S.C. § 3553 (a)(2)(C)

        The issue of specific deterrence is a sentencing factor for consideration under18 U.S.C.
§ 3553 (a)(2)(C). The empirical evidence is unanimous that there is no relationship between
sentence length and general or specific deterrence, regardless of the type of crime. See Andrew
von Hirsch et al., Criminal Deterrence and Sentence Severity: An Analysis of Recent Research
(1999) (concluding that “correlations between sentence severity and crime rates . . . were not
sufficient to achieve statistical significance,” and that “the studies reviewed do not provide a
basis for inferring that increasing the severity of sentences generally is capable of enhancing
deterrent effects”); Michael Tonry, Purposes and Functions of Sentencing, 34 Crime and
Justice: A Review of Research 28-29 (2006) (“[I]ncreases in severity of punishments do not
yield significant (if any) marginal deterrent effects. . . . Three National Academy of Science
panels reached that conclusion, as has every major survey of the evidence.”); David Weisburd et
al., Specific Deterrence in a Sample of Offenders Convicted of White-Collar Crimes, 33


                                                                     McCormack & McCormack
                                               -7-                        Attorneys at Law
                                                                  611 Lynnhaven Parkway, Suite 100
                                                                      Virginia Beach, VA 23452
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Criminology 587 (1995) (finding no difference in deterrence for white collar offenders between
probation and imprisonment); Donald P. Green & Daniel Winik, Using Random Judge
Assignments to Estimate the Effects of Incarceration and Probation on Recidivism among Drug
Offenders, 48 Criminology 357 (2010) (study of over a thousand offenders whose sentences
varied substantially in prison time and probation found that such variations “have no detectable
effect on rates of re-arrest,” and that “[t]hose assigned by chance to receive prison time and their
counterparts who received no prison time were re-arrested at similar rates over a four-year
timeframe”).
       The Sentencing Commission has found that “[t]here is no correlation between
recidivism and guidelines’ offense level. . . . While surprising at first glance, this finding should
be expected. The guidelines’ offense level is not intended or designed to predict recidivism.”
U.S. Sent’g Comm’n, Measuring Recidivism: The Criminal History Computation of the Federal
Sentencing Guidelines, at 15 (2004) [“U.S. Sent’g Comm’n, Measuring Recidivism”]. See also
Part IV.A.3, infra. And according to “the best available evidence, . . . prisons do not reduce
recidivism more than noncustodial sanctions.” Francis T. Cullen et al., Prisons Do Not Reduce
Recidivism: The High Cost of Ignoring Science, 91 Prison J. 48S, 50S-51S (2011).
       Unquestionably, a sentence to confinement for a period within a range of 262 to 327
months, with supervised release for life, would serve as sufficient deterrence to Mr. Vickers.


                                          SUMMATION


       The defendant David Vickers is before this Honorable Court for determination as to an
appropriate sentence for the offenses of distributing numerous computer files containing visual
depictions of minors engaged in sexually explicit conduct in violation of 18 U.S.C. 2252(a)(2),
attempting to persuade, induce, entice and coerce an individual who had not attained the age of
eighteen (18) years to engage in illegal sexual activity with him in violation of 18 U.S.C.
2422(b) and traveling from the Commonwealth of Virginia to the State of Ohio for the purpose
of engaging in illicit sexual conduct with a person under thirteen (13) years of age in violation
of 18 U.S.C. 2423(b). While the Defense is cognizant of the applicable sentencing guideline
range of life imprisonment, it is respectfully submitted that based upon the history and
characteristics of Mr. Vickers, an appropriate sentence for David Vickers, taking into account


                                                                   McCormack & McCormack
                                              -8-                       Attorneys at Law
                                                                611 Lynnhaven Parkway, Suite 100
                                                                    Virginia Beach, VA 23452
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all of the applicable sentencing factors, is confinement for a period within a range of 262 to 327
months, with supervised release for life and that said proposed sentence is “sufficient, but not
greater than necessary” to serve the purposes of sentencing set forth at 18 U.S.C. §3553(a)(2).


       Attached to this position paper are documents that the defendant respectfully requests be
reviewed by the Honorable Court prior to the sentencing hearing, as follows:


A.   Character Support Letters:

       1.   Letter from Dawn Dunn
       2.   Letter from Gary Rutledge
       3.   Letter from Thomas Vickers
       4.   Letter from Evelyn Baldwin
       5.   Letter from Kellee Vickers
       6.   Letter from Wayne Vickers

B.   College Diploma from George Mason University

C. Photographs


                                               DAVID WAYNE VICKERS


                                               By //s// Greg D. McCormack_______
                                                     Of Counsel

                                               Greg D. McCormack, Esq.
                                               Ohio Registration No: PHV-6113-2015
                                               Virginia State Bar No. 20112
                                               Attorney for David Wayne Vickers
                                               McCormack & McCormack
                                               Attorneys at Law
                                               611 Lynnhaven Pkwy, Suite #100
                                               Virginia Beach, Virginia 23452
                                               Phone: 757-463-7224
                                               Fax: 757-463-5171
                                               gdm@militarylawyers.org




                                                                   McCormack & McCormack
                                              -9-                       Attorneys at Law
                                                                611 Lynnhaven Parkway, Suite 100
                                                                    Virginia Beach, VA 23452
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                                               Jarrett L. McCormack, Esq.
                                               Ohio Registration No: PHV-7687-2015
                                               Virginia State Bar No. 80675
                                               Attorney for David Wayne Vickers
                                               McCormack & McCormack
                                               Attorneys at Law
                                               611 Lynnhaven Pkwy, Suite #100
                                               Virginia Beach, Virginia 23452
                                               Phone: 757-463-7224
                                               Fax: 757-463-5171
                                               jlm@mccormackpc.com


                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 8th day of March, 2016, a copy of the foregoing Position With
Regards to Sentencing Factors will be sent by operation of the Court’s electronic filing system to all
parties indicated on the electronic filing receipt.




                                               //s// Greg D. McCormack___________
                                               Greg D. McCormack, Esq.
                                               Ohio Registration No: PHV-6113-2015
                                               Virginia State Bar No. 20112
                                               McCormack & McCormack
                                               Attorneys at Law
                                               611 Lynnhaven Pkwy, Suite #100
                                               Virginia Beach, Virginia 23452
                                               Phone: 757-463-7224
                                               Fax: 757-463-5171
                                               gdm@militarylawyers.org
                                               Counsel for David Wayne Vickers

                                               //s// Jarrett L. McCormack _________
                                               Jarrett L. McCormack, Esq.
                                               Ohio Registration No: PHV-7687-2015
                                               Virginia State Bar No. 80675
                                               McCormack & McCormack
                                               Attorneys at Law
                                               611 Lynnhaven Pkwy, Suite #100
                                               Virginia Beach, Virginia 23452
                                               Phone: 757-463-7224
                                               Fax: 757-463-5171
                                               jlm@mccormackpc.com
                                               Co-Counsel for David Wayne Vickers

                                                                  McCormack & McCormack
                                            -10-                       Attorneys at Law
                                                               611 Lynnhaven Parkway, Suite 100
                                                                   Virginia Beach, VA 23452
